Case 1:19-mj-00205-JFA Document 23 Filed 12/17/19 Page 1 of 1 PagelD# 50

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UNDER SEAL
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UNITED STATES DISTRICT COURT "~~ -—-——— |!)
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EASTERN DISTRICT OF VIRGINIA j, © DEC! 7208 i,
3 : .
U.S.A. vs. Jennifer G. Hernandez Docket No. 1:19MJ205°" > .

Petition for Action on Conditions of Pretrial Release

COMES NOW, BETHANY ERDING, PROBATION OFFICER OF THE COURT, presenting an
official report upon the conduct of defendant Jennifer G. Hernandez, who was placed under pretrial release
supervision by the Honorable Ivan D. Davis, United States Magistrate Judge, sitting in the court at 401 Courthouse
Square, Alexandria, Virginia 22314, on May 6, 2019, under the following conditions:

1. Report to Pretrial Services on a regular basis;
2. Undergo mental health testing and/or treatment as directed by Pretrial Services; and
3. Do not physically appear at CIA buildings or property.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS
FOLLOWS:

On December 9, 2019, the United States Secret Service charged the defendant with Unlawful Entry.

PRAYING THAT THE COURT WILL ORDER a WARRANT for the defendant to show cause why her
conditions of release should not be revoked.

It is hereby ORDERED that the petition, with its attachment and arrest warrant be sealed. It is further
ORDERED the petition, its attachment and arrest warrant shall remain sealed until the warrant is
executed, at which time the petition, its attachment and warrant, should be unsealed and made part of the
public record.

ORDER OF COURT I declare under the penalty of perjury that the
foregoing is true and correct.
Considered and ordered this vy cay of

 

 

 

December, 2019 and ordered filed and made a part Executed on: December 17, 2019
of the records in the above case. . any Erdin
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§ Bethany Erding
John F. Anderson . Senior U.S. Probation Officer
United States Magistrate Judge 703-299-2305
John F. Anderson Place: Alexandria

United States Magistrate Judge
